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     P.O. Box 26945
2    Phoenix, Arizona 85068-6945
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3    tdake@cox.net

4    Terry A. Dake - 009656

5    Attorney for Trustee

6                       IN THE UNITED STATES BANKRUPTCY COURT

7                            FOR THE DISTRICT OF ARIZONA

8    In re:                         )      In Chapter 7 Proceedings
                                    )
9    VALLEY HOSPICE OF ARIZONA, INC.)      Case No. 2:21-BK-08392-PS
                                    )
10                       Debtor.    )
                                    )
11
                             NOTICE OF LODGING ORDER
12
                Please take notice that the attached order has been lodged
13
     with the Court.
14
                DATED May 23, 2023.
15
                                      TERRY A. DAKE, LTD.
16
                                      By /s/ TD009656
17                                      Terry A. Dake
                                        P.O. Box 26945
18                                      Phoenix, Arizona 85068-6945

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                         IN THE UNITED STATES BANKRUPTCY COURT
7
                               FOR THE DISTRICT OF ARIZONA
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     In re:                         )          In Chapter 7 Proceedings
9                                   )
     VALLEY HOSPICE OF ARIZONA, INC.)          Case No. 2:21-BK-08392-PS
10                                  )
                         Debtor.    )
11                                  )

12                                     ORDER

13                 This matter having come before the Court on the trustee's

14   Motion To Approve Payment Of Wages And Related Taxes (Admin. Dkt. No.

15   236); and

16                 It appearing that notice of the trustee's motion was duly

17   given    to   creditors   and   parties   in   interest   as   appears   from   the

18   certificate of mailing filed with the Court (Admin. Dkt. Nos. 237,

19   238); and

20                 There having been no objections to the trustee's motion

21   timely filed and served; and

22                 The Court having reviewed the motion and finding that the

23   relief requested is a reasonable exercise of the trustee's business

24   judgment and is otherwise reasonable and in the best interest of the

25   estate; and

26                 The Court being otherwise duly advised;

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1                IT IS ORDERED that the Motion To Approve Payment Of Wages And
2    Related Taxes at Admin. Dkt. No. 236 shall be and the same is hereby
3    approved.
4                IT IS FURTHER ORDERED that the trustee is authorized to pay
5    the following wage claims in the amounts indicated:
6                Claim No.       Claimant              Amount
7                 6              Vicki McLeod          $11,909.63
8                12              Martin H. Rubin       $11,909.63
9                15              Jessie N. Hernandez   $2,177.76
10               IT IS FURTHER ORDERED that the trustee is authorized to pay
11   the withholdings and other taxes related to these wage payments to the
12   appropriate taxing authorities.        The total amount to be paid by the
13   estate for taxes to the state and federal governments in addition to
14   the net wage checks above is $6,078.40.
15                           DATED AND SIGNED ABOVE.
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